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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF LOUISIANA

    In re:                                  *
                                            *          Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH               *
    OF THE ARCHDIOCESE OF NEW               *          Section “A”
    ORLEANS,                                *
                                            *          Chapter 11
             Debtor.                        *
                                            *


       MOTION FOR RECONSIDERATION OF COURT’S ORDER TERMINATING
      PAYMENT OF PENSION BENEFITS TO FATHER WILLIAM O’DONNELL, ECF
                                DOC. 1759




             PLEADING FILED UNDER SEAL



                                  Respectfully submitted,

                                  /s/ Stephen J. Haedicke
                                  STEPHEN J. HAEDICKE (Bar Roll No. 30537)
                                  Law Office of Stephen J. Haedicke, LLC
                                  1040 Saint Ferdinand St.
                                  New Orleans, LA 70117
                                  (504)291-6990 Telephone
                                  (504)291-6998 Fax
                                  Stephen@haedickelaw.com




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                                  CERTIFICATE OF SERVICE

          I hereby caused a true and correct copy of the foregoing Motion to be served on
   September 14, 2022, upon all parties by email, and on all other parties requiring service under
   the Special Notice List as defined and required under the Court’s May 1, 2020 Ex Parte Order
   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures via first-class United
   States mail, postage prepaid on September 14, 2022.


                                               /s/ Stephen J. Haedicke




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